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 6
 7                            UNITED STATES DISTRICT COURT
 8                          EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                          Case No. 2:09-cr-00358 WBS
11
                          Plaintiff,
12                                                      STIPULATION AND [PROPOSED]
     vs.                                                ORDER TO EXCLUDE TIME
13
14   ERIK F. AGUILAR LARA,
15                        Defendant.
16   ________________________________/
17
18          The parties hereby stipulate that the Change of Plea hearing in this case be
19   continued from Monday, July 30, 2012, at 9:30 a.m. to August 13, 2012, at 9:30 a.m. The
20   parties stipulate that the time between July 30, 2012, and August 13, 2012, should be
21   excluded from the calculation of time under the Speedy Trial Act. The parties stipulate
22   that the ends of justice are served by the Court excluding such time, so that counsel for
23   the defendant may have reasonable time necessary for effective preparation, taking into
24   account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-
25   4. Specifically, counsel for defendant Lara is going to trial for the second time in a
26   double-homicide case estimated to last one month. Therefore, to ensure continuity of
27   counsel for defendant Lara, the parties have stipulated to continue the Change of Plea
28   hearing in this case. The parties stipulate and agree that the interests of justice served by


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 1   granting this continuance outweigh the best interests of the public and the defendant in a
 2   speedy trial. 18 U.S.C. § 3161 (h)(7)(A).
 3            The parties further request that this matter be taken off the July 30, 2012 calendar
 4   before Judge William B. Shubb and be rescheduled for August 13, 2012, at 9:30 a.m.
 5   before Judge Shubb.
 6
 7                                               Respectfully submitted
 8                                               LAW OFFICES OF TIM A. PORI
 9
     Date: July 24, 2012                         /s/ Tim A. Pori
10                                               TIM A. PORI
                                                 Attorney for Defendant ERIK LARA
11
12   Date: July 24, 2012                         /s/ Heiko Coppola (Authorized 7/24/2012)
                                                 HEIKO COPPOLA
13                                               Assistant United States Attorney
14
15
16
17
                                                ORDER
18
              IT IS HEREBY ORDERED that the Change of Plea hearing in the above-entitled
19
     matter is continued to August 13, 2012, at 9:30 a.m. before the Honorable William B.
20
     Shubb and that the time between July 30, 2012, and August 13, 2012, be excluded from
21
     the calculation of time under the Speedy Trial Act.
22
     Dated:          July 19, 2012
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